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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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 8
       UNITED AFRICAN-ASIAN
 9     ABILITIES CLUB, ON BEHALF OF                Case No: SACV 20-539-GW-JDEx
       ITSELF AND ITS MEMBERS;
10
       JESSIE JAMES DAVIS IV, An
11     Individual,                                 ORDER FOR DISMISSAL WITH
12
                     Plaintiffs,                   PREJUDICE OF ENTIRE ACTION
             v.
13     WPC DEVELOPMENT CO., A                      [Fed. R. Civ. P. Rule 41(a)(1)(ii)]
14     CALIFORNIA LIMITED
       PARTNERSHIP; and DOES 1
15
       THROUGH 10, Inclusive
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                   Defendants
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            Based on the Joint Stipulation for Dismissal With Prejudice submitted by the
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      parties herein and for good cause shown, this Court hereby dismisses with prejudice
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      all Defendants from Plaintiffs’ Complaint and dismisses with prejudice Plaintiffs’
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      complaint in its entirety. Each of the parties herein shall bear their own respective
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      attorney fees and costs.
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24          IT IS SO ORDERED.
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26    Dated: December 30, 2020
                                             By: _____________________________
27                                                 HON. GEORGE H. WU,
28                                                 United States District Judge
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                                                            Case # 8:20CV00539-GW-JDEx
                                                             ORDER FOR DISMISSAL
